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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
JOEL RICH and MARY RICH,                                       :          Civil Action No. 18-cv-2223
                                                               :
                                    Plaintiffs,                :
                                                               :
                              v.                               :            NOTICE OF APPEAL
                                                               :
FOX NEWS NETWORK, LLC, MALIA                                   :
ZIMMERMAN in her individual and professional                   :
capacities, and ED BUTOWSKY, in his individual :
and professional capacities,                                   :
                                                               :
                                    Defendants.                :
-------------------------------------------------------------- X

         NOTICE IS HEREBY GIVEN that Plaintiffs Joel Rich and Mary Rich, by and through

 Massey & Gail LLP and Susman Godfrey LLP, hereby appeal to the United States Court of

 Appeals for the Second Circuit from the ORDER granting Motions to Dismiss [69], entered in this

 action on the 2nd day of August 2018, including the JUDGMENT entered thereon [70].


 Dated: August 7, 2018                              By:      /s/ Arun Subramanian
                                                             Arun Subramanian

                                                             MASSEY & GAIL LLP
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                                                     ebarron@susmangodfrey.com

                                                     Attorneys for Plaintiffs Joel and Mary Rich



                                  CERTIFICATE OF SERVICE

        I hereby certify this 7 th day of August, 2018 that I caused a true and correct copy of

the foregoing document to be electronically filed with the Clerk of the Court using the CM/ECF

system which will send notification to the attorneys of record.


                                                     s/ Arun Subramanian
                                                     Arun Subramanian




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